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            EXHIBIT 14
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   Rebuttal Report of Suresh H. Moolgavkar~ M.D., Ph.D.

                      April 6, 2009




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In this report~ 1 have been asked to review and comment on the December 2008 expert
report ofDe Whitehouse.

One ofDr. Whitehousels central theses appears to be that Libby fiber is uniquely toxic
and that it has caused,and will cQntinue to cause, serious disease in the general
population in the Libby area. The quantitative assessment of the toxicity ofany agent
requires a proper epidemiological study with good quantitative information on exposure.
The cohort of workers at the Libby mines has wen-characterized exposures and has been
used to assess quantitatively the risks posed by Libby fibers in a number of
investigations, most recently by Sullivan (2007). In addition, disease in the general
population in the Libby area has been investigated by the Agency for Toxic Substances
and Disease Regisrry (ATSDR). Instead of relying on these studies, Dr. Whitehouse
relies on observations on patients in his clinical practice and on deeply flawed studies that
he has conducted on his patient population.

Dr. Whitehouse1s conclusions are based on improper and unacceptable analyses of
various poorly characterized data sets and onanectodal evidence, HetcHes in particular
on a dataset that he .established at the Center for Asbestos Related Disease (CARD) at
Libby, Montana. This database apparently consists of infonnation on over 1,600 patients
with what Dr. Whitehouse calls t!asbestos-related disease u • Dr. Wllitehouse offers no
description of how the database was assembled and no evidence that the patient
                                       or
population at CARD is representative the general population of the Libby area. Thus,
any conclusions that might be drav.m from this dataset cannot be extrapolated to the
Libby area population at large.

CARD.mortality study is fatally flawed and provides no reliable information un the
toxicity of Libby asbestos

Dr. \Vhitehouse provides no protocol for his CARD mOltality study. In particular, there is
110 infolmation on how the study was designed, and how the cohort of study subjects was
assembled,except that it is some subset of Dr. Whitehouse's patient population. Dr.
Whitehouse's comparison of the mortality expelience o1'thi8 cohort ofpatients with that
ofthe insulators' cohort does not follow established scientific practice and is, therefore,
un-interpretable. First, it is totally inappropriate to compare the mortality experience of a
cohort of patients who already have asbestos disease with an occupational cohort of
asbestos workers. Dr. Whitehouse argues that workers in the insulators' cohort who died
must have had asbestos disease. He has no direct evidence to support this claim. And,
even if tIue, he is still comparing mortality in the entire insulators' cohort with mortality
in a group ofpatients with asbestos disease. The appropriate comparison group for the
insulators' cohort is clearly the occupational cohort of workers at the Libby mines. This
occupational cohort has been investigated in great detail in a number of published studies.
I discuss the findings of these studies belo",v.

Second, even if for some reason one wanted to compare the mortality experience of the
CARD cohort with that of the insulators~ cohort, there are we11·established scientific
principles that must be used in making such comparisonst which Dr. Vvl1itehouse



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completely ignores. For example, age is an important and strong determinant of mortality
risk and must be accounted for in any comparison of the mortaHtyexperience of two
populations. 'lllereare standard epidemiological methods for doing this, which Dr.
Whitehouse, ifhe is aware of them, has chosen not to use. Some of these methods, such
as age-standardization of rates, are quite straightforward to understand and implement
with a hand-held calculator. Others, such as Poisson and Cox regression, require the use
ofspecial1zed software,but are now commonplace in epidemiological analyses.

Finally, Dr. \Vhitehouse has absolutely no infonnation on the level of exposure to Libby
fiber in his patient population.

Dr. Whitehouse uses the comparison of the mortality experience of his cohort with that of
the insulators' cohort to argue that Libby asbestosis highly toxic because similar
mortality pattenls were seen in the two cohorts with allegedly much lower exposure
levels' in bis patient population. Thus, Dr. \Vhitehouse argues that Libby fiber is far more
toxic than the fibers that the insulators were exposed to. As discussed above, this
conclusion simply C'atUlot be drawn from the flawed analyses presented by Dr.
Whitehouse. However, the issue of potency of Libby fiber can be addressed with the
available data on the occupational cohort at Libby.

As I noted above~ the mortality experience of the insulators' cohort should be compared
with the mortality experience of the Libby occupational cohort. More generally, it is of
interest to view the mortality risks in the Libby cohort within the framework of the
mortality risks observed in other occupational cohorts exposed to asbestos. I present this
comparison below for three disease end-points, lung cancer, mesothelioma I and non-
malignant respiratory disease (NMRD), which includes asbestosis. These comparisons
show that the toxicity of Libby fibers lies in the middle of the range of toxicities for
asbestos fibers.

Instead of using the well accepted quantitative approaches described below, Dr.
Whitehouse bases his opinions on anecdotal evidence. For example, on page 28 ofhis
report, he gives three examples of individuals with minimal exposures to Libby asbestos
who he alleges have developed lung cancer, non-malignant respiratory disease (NMRD)
and mesothelioma, respectively, as a result of this minimal exposure. The logic of his
allegation defies comprehension. As laid out in detail in my previous reports (June II,
2007; July 3J, 2007), a proper quantitative analysis of other exposures including, if
possible, the estimation of etiologic fraction, is imperative before any conclusions can be
drawn regarding the contribution ofLibby fibers to disease causation.

As I have said above, it.is possible to develop good quantitative infonnation on the
toxicity of Libby asbestos because of the availability ofproperly conducted
epidemiological studies on the occupational cohort at Libby. In addition, the issue of
whether environmental or non-occupational exposure to Libby asbestos poses a risk to
the general population at Libby has been addressed in studies conducted by the ATSDR. I
discuss these studies here with emphasis on the latest findings.
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1 Dr. ¥lhitehouse has no quantitative infonnation on thelevel ofexposure in his patient population.




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Lung Cancer

Lung cancer risk in the Libby occupational cohorts can be compared quantitatively with
risks in other occupational cohorts using two distinct approaches. The first is based on
Standardized Mortality Ratios (SNfR) and relative risks (RR) and has been the method
used by the EPA. The second approach \vas developed in Hodgson and Damton (2000).

The latest comprehensive analyses of all asbestos cohorts with reasonable quantitative
infonnation on exposure are presented by Bennan and Crump (2008). The results for
lung cancer are in table 3. The Libby potency factor for lung cancer, KL = 0.0026~ is in
                                                       2

the middle of the range of potency factors in the table and approximately equal to the
potency factor in the insulators' cohort (0.0028). Thus, for lung cancer mortality, Libby
fiber is certainly no more toxic than the fibers the insulators were exposed to. Moreover,
the Libby fibers are considerably less toxic than the fibers that the South Carolina Textile
Cohort was. exposed to, which were predominantly chrysotile fibers. 'The potency factor
of 0.0026 for Libby fiber is about a fourth of the potency factor used byEPA in its 1986
risk assessment for asbestos3 and implies that the relative risk (RR) ofJung cancer
associated with a cumulative exposure of 100 £!ml~y of Libby fiber is 1.26, about the
same as the RR associated with exposure to second-hand smoke. To put this in context,
the RR of lung cancer associated with a 20 pack-year snloking habit is more than 10.

The analyses described above were based on SMRs. One problem with SMR analyses is
selection oftbe appropriate external control group. The U.S. population is generally used
as the control. The S}v1R thus depends upon the choice of control and on tbeassumption
that tberates in the contmI group are a good representation of theuncierlying rates in the
study population, i.e., the rates that \vould be expected in the absence of exposure to
asbestos. The SMR depends also on the number ofexposure categories selected for
analyses. hl order to get around these problems, methods of analyses based on internal
controls can be used. A commonly used approach is Cox proportional hazards regression
modeling. Amandus and Wheeler (1987) used this approach in their Libby occupational
cohort and estimated a potency factor K L = 0.00] 1, less than half the potency factor
estimated in Berman and Crump. It is interesting that a similar, hut somewhat smaner,
potency factor (0.0008) was reported in an unpublished ATSDR document (Larson and
Phalen, unpublished manuscript) based on an updated Libby cohort, a sub-cohort of
which was analyzed by Sullivan (2007). Vlehave recently compJetedanalyses of the
Sullivan database. Using the Cox model, we estimate that the potency factor of Libby
fiber is 0.0011, identical to the potency reported in Amandus and W'lleeler (1987).
Loomis et a1. (2009}report the same potency factor in the North Carolina textile workers
cohort, which was exposed predominantly to chrysotile. These results imply that the RR


2 These potency factors are estimated on the ASSUJ\1PTION that the standardized mortality ratio (SMR) is
a linear function ofcumulative exposure without any threshold. These results do not imply that there is
non-zero risk anhe lowest levels of exposure.
3 Although EPA has proposed revisions to its current approach to asbestos risk assessment to take account
of fiber type and size, the Science Advisory Board (SAB) was critical (lithe. implementation plan the EPA
put fonvard. Therefore, the EPA approach has not been revised.


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associated with a cumulative exposure of 100 Vml-y to Libby fiber is 1J 1, far less than
that reported with exposure to second-hand smoke. These results also indicate that Libby
fiber is<no more potent than chrysotile as a lung carcinogen.

A second approach to comparing the potency of Libby fiber with fibers that other
occupational cohorts were exposed to is to use the Hodgson-Damton (H~D) index. With
an estimated SMR of].7 (Sullivan~ 2007) and average cumulative exposure of 91.4 flml-
y, the H-D index for Libby fiber is 0.77, considerably smaller than the H-D index for
crocidolite (Hodgson and Damton, 2000; table 2) and in the middle of the range for the
chrysotile cohorts analyzed in Hodgson and Damton (2000).

Mesothelioma

As in the case oflung cancer, there arehvo approaches to comparing potencies of the
fibers that various occupational cohorts are exposed to. The first approach adopted by the
EPA is based on a model for mesothelioma mortality hazard developed by Peto (1979).
Berman and·Crump present the potencies (KM) based on this approach for various
cohorts. \Vhile they do not compute the potency for Libby fibers, we are able to do so
based on the Sullivan dataset. Sullivan reports that there are 15 mesotheliomas in the
updated Libby cohort. Using tmsnumber and the detailed exposure history of each
member of the OOhOlt, we are able to estimate that for the Libby cohort, KM = 0.5 x 10.8,
half the potency factor assumed by EPA in its 1986 risk assessment for asbestos4, From
table 4 of Bennan and Crump (2008)~ we can see that trus estimate ofLibby potency lies
in the middle ofthe range of potencies for asbestos fibers, and is much smaUer than the
potency for crocidoliteandsornewhat sn1aner than the potency for amasite.

The second approach is to use the H-D index for mesothelioma. With 15 mesothelioma
deaths, 767 total deaths, and average cumulative exposure of91.4 flml-y, the H..D
mesothelioma index for Libby is 0.02, again right in the middle of the range reported in
Hodgson and Damton (2UOO, table I), considerably smaller than the H~D index for
crocidolite, .and somewhat smaller than the H-D index for amosite.

Dr. Whitehouse contends, without offering the requisite evidence on other exposures, that
environmental exposure to Libby fibers has led to numerous mesothelioma deaths. I find
it hard to decipher from his report how many such deaths he is alleging. Exhibit 3 of his
report is a paper he wrote on environmental exposures and mesothelioma at Libby
(\Vhitehouse, 2008). In the abstract to that paper he states, IT(tlhirty-one cases of
mesothelioma resulting from exposure to Libby Asbestos have been identified from
Libby, Montana. Eleven cases not previously reported are the subject of this report. II This
statement would seem to imply that exposure to Libby asbestos led to 42 Cases of
mesothelioma. In the introduction to the paper Dr. \Vhitehouse says~ !t8ullivan [2007]
reported that 15 cases of mesothelionm were documented in \VRG workers as of 2001.
We report an additional 11 cases ofmesotbelioma that have been documented among
non-occupationally exposed people by the Center for Asbestos Related Disease (CARD)


4 See footnote 3.




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in Libby,1I This statement would seem to imply that exposure 10 Libby asbestos led to 26
cases of mesothelioma. Finally, in his exhibit 9, he lists 34 cases of mesothelioma.

As mentioned above, and described indeta.il in previous reports, all exposures must be
carefully considered before any conclusions regarding the contribution of Libby fibers to
any case of mesothelioma can be drawn. In particular, although rare, mesothelioma can
occur without exposure to asbestos. Although Dr. Whitehouse asserts that the age,..
adjusted rate of such spontaneously occurring mesothelioma is less than 1 per million
individuals per year, recent analyses (1vloolgavkar et aI., 2009) suggest that the age-
adjusted rate for pleural mesothelioma is 2-3 per million individuals per year, and that for
peritoneal mesothelioma is about 1 per million individuals per year.

Non-malignant respiratory disease (NMRD)

Unlike lung cancer and. mesothelioma, it is not possible to compare the potency of Libby
fiber for NMRD with other fibers because this infonnation for the other fibers is not
available, The focus of most quantitative analyses ofoccupational cohorts exposed to
asbestos has been lung cancer and mesothelioma, and we are not aware of any estimates
of potency factors for NMRD in other cohorts. However, McDonald et a1. (2004)
reported a potency factor (KN = 0.0038) for l\TtvfRD in the Libby cohOlt. This implies that
the RR associated with a cumulative exposure of lOOflml-y is approximately 1,38. This is
slightly larger than the potency factor for lung cancer reported by McDonald et al. in the
same paper. We analyzed NMRD in the Libby cohort using the Cox proportional hazards
model and estimated KN = 0.0013, slightly larger than the potency factor for lung cancer
using the Cox model (see above). These modest potency factors do not suggest that there
win be an epidemic of Nf'viRD in the general population of Libby. This conclusion is
supported by the ATSDR mortality study (ATSDR, 2000), which I discuss below,and
which shows that mortality from NtvIRD is not increased in the general population of
Libby~ I.e. in the population not occupationally exposed to Libby asbestos.

To support his allegation that pleural disease from Libby asbestos exposure is "highly
progressive", Dr. Whitehouse cites his fatally flawed 2004 study of lung function
decrement in a cohort ofhi8 patients.

)be \Vhitehouse Study

I\.1any of Dr. \Vhitehouses allegations regarding the toxicity of Libby fibers rely on a
lung function study conducted by him. He (VVhitehouse, 2004) claims, "[t]he progressive
loss of pulmonary function in 76% ofthe 123 patients with pleural changes followed in
this group of patients with Libby tremolite exposure is excessive compared to other
published reports." The basis of this claim is a study published in 2004. There are a
number ofproblems with the study that make interpretation of the reported results
virtually impossible. The most serious problem with the study is that Dr. Whitehouse
makes no attempt to relate decrements in lung function to the level of asbestos exposure
in his study population. Therefore, no conclusions regarding the association of asbestos




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exposure at Libby and loss oflung function can be drawn from this study. The other main
problems with the study are the following.

   1. The subjects ofthe study were not randomly chosen from the Libby population.
      The subjects were selected from among Dr. vVhitehouse's patient population. It is
      highly likely that these subjects entered the study because of symptoms and
      therefore are not representative ofthe general Libbypopulation. This problem of
      self-selection is compounded by the fact that of the 491 suhjects originally in the
      study, the data on only 123 were used for analyses. Only the patients with
      repeated pulmonary function tests, who were likely the sickest, were included in
      this study. Because of this problem of selection, findings from the study cannot be
      generalized to the Libby population. Moreover, there was no control grQUp.
   2. Dr. Whitehouse does not use the most appropriate statistical methods to exploit
      the fact that individual level longitudinal data are available on each study subject.
      Since, at least on some patients, more than two sets of measurements were
      available, the appropriate way to analyze these data would be to consider each
      individual's response separately and address the correlations between consecutive
      readings by using standard statistical techniques. Instead, the method used by Dr.
      Whitehouse appears to use only the first and last sets of measurements and
      discards the others. Specifically, the whole problem should have been set up as a
      linear regression in which pulmonary capacity is modeled as a function of
      covariates such as age, gender, smoking history, obesity, radiographic changes,
      pleural thickening, and most importantly history of exposure to asbestos. The
      coefficients of such a model could be estimated using generalized estimating
      equations .(GEE) techniques,
   3. For his statistical method, Dr. W11itehouse has apparently used Analysis of
      Variance (ANOVA) with mean aruma! pulmnuary function changes for each
      subject regressed against covariates. This method is not optimal for this data set
      because it results in some data being discarded. Moreover, Dr. \Vhitehouse uses
      this method incorrectly, which makes his results uninterpretable. First, he does not
      even present the actual regression equation that was used forIlis analyses. Second,
      he does not consider age, a potential strong predictor ofpultnonary function,and
      other important covariates (see below) explicitly in his analyses. Instead he
      claims, "[s]ince the patient values were aU age corrected against the normative
      predicted values, changes in the percentage predicted over time reflected changes
      ofpulmonary ftmction beyond that accounted for by aging." The ~nonnative
      predicted values~ were apparently taken from a study done by Knudson and
      published in 1983. Dr. Wmtehouse does not say how the effect of age can be
      adjusted using these nonnative values. Furthennore1 nonnative values from a
      publication in 1983 can hardly be considered to be a contemporary gold standard
      for the effects of age on pulmonary functions . A study by Brodkin et a1. (1996)~
      wru.ch Dr. Whitehouse cites, used age as one of the covariates in the regression. It
      is, therefore, unclear \-vhy Dr. Whitehouse used values that were "age corrected
      against normative predicted values'f instead of using age directly as a covariate.
   4. _Properly performed analyses would have anowed Dr. Whitehouse to relate lung
      function to various factors, such as age, cigarette smokil1g1 obesity, radiographic



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      pleural changes measured on the ILO scale, pleural thickening, and most
      importantly, asbestos exposure, known to affect lung function. The paper by
      Brodkin et a1. (1996) thathe cites asa reference includes each of these covariates
      in analyses. In particular, Dr. \Vhitehouse makes no attempt to relate declines in
      pulmonary function to radiographic abnormalities or to levels of asbestos
      exposure at Libby. For example, among the study subjects are 86 fonner Grace
      employees, 27 family members of employees, and 10 individuals who were only
      environmentally exposed.• lf asbestos exposure in Libby were associated with
      declines in lung function, one would expect the largest declines in pulmonary
      function among the employees, followed by family members, with the smallest
      declines among those only environmentally exposed. From this study it is
      impossible to determine whether there were any decrements in lung function
      associated with asbestos exposure. The decrements obselVed in the study could be
      entirely attributable to other factors, such as age, smoking habits, and obesity.
      Whether individuals who were environmentally exposed to Libby amphiboles
      suffered any declines in lung function is one of the central questions. Dr.
      Whitehouse's study cannot address this question.
   5. Dr. Wlritehouse reports that he used.a Sensormedics model 6200 to do the
      pulmonary function measurements hefore 1988 and a Medgraphics model 1085
      since that time. His paper does not give any indication of the number of patients
      whose initial and final measurements were made on different machines and
      whether any attempt was made to cross-calibrate the machines.

Finally, there are apparent discrepancies and unclear statements on important issues in
the \Vhitehouse paper. For example, he states, "[t]he parameters that were felt to be most
valuable for analysis were forced vital capacity (FVC), (taking the best available and
valid number from each set), ..." Dr. \Vhitehouse does not explain how he chose the best
available and valid number. Obviously> this choice could influence the results
significantly. In another example of lack of clarity, figure 2 in the paper appears to show
that the average PVC loss among 94 patients was 3.2% per year. However, the caption of
figure 3 appears to say that only 79 patients had average FVC loss greater than 10/0 per
year.

In summary, because of fundamental problems with the methodology, this study does not
provide the infoffilation that would be required to determine to what extent loss oflung
function among residents of Libby is attributable to their asbestos exposure.

Environmental Exposure to Libby Fibers and Disease

Dr. Whitehouse claims that his studies show that environmental (non-occupational)
exposure to Libby asbestos poses a grave risk to the Libby population. The ATSDR
studies, which investigated the health consequences of environmental exposure to Libby
fibers, do not support this contention.




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The Agency for Toxic Substances and Disease Registry (ATSDR) Studies

In response to concerns about asbestos exposure and its health consequences the ATSDR
undertook two studies in the Libby area in 2000 and 2001. One was a mortality study,
which used standard epidemiological procedures to investigate whether mortalityfi"Offi
specific causes known to be associated with asbestos exposure was elevated in the Libby
area. The second was a radiographic study ofover 6)000 current or fonner residents of
the Libby area. While historical occupational exposures to asbestos were high, the crucial
issue here is if, and to what extent, environmental exposures contributed to the burden of
asbestos-related disease in Libby. The ATSDR screening studies cannot address this issue
as I discuss inmore detail below. The mortality studies show that there was no increase
in the risk of death from environmental exposure to Libby fibers.

The ATSDRMortality Study

The ATSDR undertook a study of mortality from specific causes in the Libby area over
the 20~year period 1978-1998. Numbers of deaths from specific causes were compared
with numbers that would be expected under national and Montana death rates. Standard
epidemiological and statistical techniques were used to compute Standardized MortaBty
Ratios (SMRs) and their confidence intervals. The causes ofdeath ofInain interest were
lung cancer, nlcsotheIioma, and non-malignant respiratory disease (NlVfRD), particularly
asbestosis. TIle ATSDR :mortality study shows clearly that once deaths from lung cancer,
luesothelioma and NMRD among the occupationally exposed are removed, the rates of
these diseases are not increased in the Libby population. Thus the ATSDR study shows
that there is no increase in mortality from lung cancer, mesothelioma or NMRD among
those only environmentally exposed to Libby amphibole.

In its original report the ATSDR noted a small statistically non-significant increase in
lung cancer deaths within Libby City and the extended Libby area using Montana death
rates as the standard. With US death rates as the standard, no increase in lung cancer
deaths was reported. 1bis finding was surprising in view of the fact that SMRs were
significantly increased in the occupational cohorts studied by Amandus and McDonald,
and suggests that lung cancer may actually be decreased in residents of Libby who did
not work at the mine. h1 an update to the original report" the ATSDR admitted to an
incomplete mortality census in its original report and added SO deaths from lung cancer to
the original count of 80 in Central Lincoln County. With these additional deaths, the
report indicates that lung cancer mortality inthe Libby area was statistically significantly
increased over expectation using both U.S. and T\.1ontana lung cancer death rates as the
standards.

Inclusion of these 50 lung cancer deaths in the revised analyses does not appear to be
scientifically defensible> and would be expected to inflate the true lung cancer mortality
riskin Libby. Iviany of these lung cancer deaths apparently occurred in areas outside
Libby and, in fact, outside the state of Montana. \Vith no explanation, the ATSDR lists 11



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states other than Montana (Arizona, Idaho,. Kansas, Nebraska, New York) North Dakota,
Oregon, Tennessee, Utah, Washington, and Wyoming) where these additional deaths
among Libby residents could have occurred. It is not dear, however, how Libby
residency was established for individuals who died outside the state of "Montana. Some of
these individuals could have gone to a neighboring state for medical treatment and died
there. In this case, ofcourse, counting these deaths as Libby deaths is legitimate.
However, it is extremely unlikely that deaths occurring as far away as Tennessee and
Nebraska, for example, were among individuals who had traveled there for treatment.
Then the central issue is when these individuals had moved from Libby, even if they were
considered Libby residents. If they had left the Libby area some years before death, then
it is not legitimate to count these deaths as Libby deaths, unless some adjustment is made
for this fact. For example, if these deaths. are included, the 'person-year' calculation in
the denominator should include all individuals who moved out of the Libby area during
the period of the study, irrespective ofdisease status. Therefore, I believe that the
ATSDR procedure very likely led to an over-count of the number oflung cancer deaths
in the Libby area,

However, despite the inflated count oflung cancer in the ATSDR study, table 8 ofthe
revised report Indicates that, when former workers at the Libby plant were excluded,
there was no increase in lung cancer deaths in the general population ofthe area. Thus,
the number oflung cancer deaths over the period of the study offers no evidence that
environmental exposures contributed to the lung cancer mortality in the area.

The ATSDR reports 3 cases of mesothelioma (there were 4 in the original study) among
residents of Lincoln County over the period of the study. Since the background rate of
mesothelioma is estimated to be approximately 2-4 per million individuals per year (Price
& \Vare> 2004; NIoolgavkar et aI., 2009)~ this number points to a statistically significant
elevation of risk in the Libby area. An additiona18 mesothelioma deaths were identified
among prior residents of Lincoln County. The updated McDonald study identifies a total
of 12 mesothelioma deaths in the occupational cohort through 1998; suggesting thai all
11 mesothelioma deaths reported by ATSDR were occupationally exposed. ATSDR
reports, however, that at least one case had not had occupationalexposnre. Even if 1
mesothelioma death occurred in an individual not occupationally exposed, a single death
could have occurred by chance in the Libby area over a 20 year period given the
background rate of mesothelioma. In any event, I believe as in the case oflung cancer,
this study offers no evidence thatenviromnental exposure contributed to mesothelioma
deaths in the Libby area. The latest update of the occupational cohort (Sullivan, 2007)
reports 15 mesothelioma deaths,. as noted above.

Among the causes of death other than cancer, of most interest are the non-malignant
respiratDty disease,s (NMRD), particularly asbestosis, Eleven pneumoconiosis deaths
among males and one among females are reported over the period of the study. All of
these are labeled asbestosis in the ATSDR repOlt, although it is not clear how this
diagnosis was verified. However, as table 8 of the ATSDR report notes, only one of these
occurs in an individual who was not occupationaUy exposed, with 11 occurring among
occupationally exposed individuals. When these 11 deaths are removed) deaths from



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pneumoconiosis were not elevated among those not occupationally exposed. There is no
evidence thatenvlromnental exposures contributed to the deaths from pneumoconiosis.

The ATSDR reports also that deaths from non-malignant respiratory causes other than
pneumoconiosis were statisticallysignificantly elevated in the Libby area. There were 14
NlvlRD deaths among males and 4 among females. Again, table 8 indicates that the
increase in deaths from this cause was limited to those occupationally exposed.

In conc1usion,there is no evidence that environmental exposure to asbestos contributed to
the deaths from lung cancer, mesothelioma and NMRD, including asbestosis, in the
Libby area.

The ATSDR Medical Testing Study

The ATSDR issued a report in August 2001 on the nledical testing of individuals inthe
Libby area. The bulk of the report deals with the findings ofa radiographic study on
volunteers who had lived in the Libby area for at least six months prior to 1990. The
study, which has beenpub1ished in the peer-reviewed literature (peipins et a1., 2003), is
not a proper epidemiological study because the participants were self-selected and there
was no control group. The ATSDR (2001) acknowledged as much, saying, "[t]he study
was not designed as an anal)'ticepidemiologic study with comparison groups. 115
Multivariate logistic regression analyses were conducted to examine the association of
covariates such as age, gender, smoking habits, body mass index (BMI) and, most
importantly~ exposure to asbestos. A number of covariates were found to be significantly
associated with radiographic abnonnalities including age, gender, and smoking habits.
With respect to asbestos exposure, activities that could have led to significant exposures
were also found to he significantly associated with radiographic abnonnaJities. Thus the
strongest tisk factor for radiographic abnormalities was being a former WRG worker.
'Recreational' exposures to asbestos that could have resulted from activities such as
playing in vermiculite piles were also associated with radiographic changes.

This study has significant limitations that preclude any conclusions regarding
associations between environmental exposure to Libby amphibole and abnormalities on
chest x-rays. The main limitations are the following.

     1. The study group was self-selected with           an
                                                      the attendant biases of such self-
        selection. In particular, the study subjects cannot be considered to be
        representative of the general population of the Libby area.
     2. The x-ray readers were not blinded to the source of the plates) and no control
        plates were used. That is~ the readers were aware that the plates were from
        residents of Libby and that the focus of the investigation '"vas asbestos associated


S-rhe ATSDR has repeatedly emphasized the fact that the screeuing study was not designed as an
epidemiological study. In addition to the statement from the report quoted here, the ATSDR made similar
statements in their report to the community on preliminary findings (February 2001) and in a briefing to the
Montana Congressional and Gubematorial Staffs (e~mail from Jason E. Broebm to Jeffrey Lybarger etal.,
dated Aug23, 2001) subject: draft Libby congressional briefing summary forcornment).


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       radiographicahnonnalities. In a properly designed epidemiological study, control
       plates from other locations would have been induded, and the readers would
       have been blinded to the source ofthe plates they were reading.
    3. TIiere was no control group so that a background rate for radiographic changes
       could not be established. In a properly designed epidemiological study a control
       group would have been included.. In the absence of a control group, it is
       impossible to assess whether the frequency of radiographic abnonnalities
       observed in those environmentally exposed is elevated. hI response to a letter by
       Price (2004}, the authors contend,'<[t]he rate of 6.7% for the no-apparent-
       exposure group in our analysis .. .is considerably higher than the prevalence rates
       ofpleural abnomlalities found in published studies of other nonoccupationally
       exposed populations in the United States, which range from 0.2% among blue-
       collar workers in North Carolina (Castellan. et al., 1985) to 2.3% among patients
       Veterans Affairs hospitals in New Jersey (Miller and ZurIo, 1996)." With the
       rapid advances in medical imaging technology, to compare theresults of the
       ATSDR study with one conducted in 1985 (Castellan) is disingenuous at best.
       'The design of the second study by Miller and Zurlo cited by Peipins et a1. is
       different in so many ways from the ATSDR study that any comparison ofresults
       is meaningless.

In summary, because the ATSDR radiographic study was not designed to be an
epidemiological study, it is, at best, a hypothesis generating study that needs to be
fonowed up with a properly designed epidemiological study.

The radiographic studies conducted by Amanduset a1 (1987) and McDonald et a1 (1986)
are relevant to this discussion. The results ofthese studies dearly indicate that, when
radiographic end-points are considered, there is no evidence to suggest that Libby fibers
are any moretoxic than other asbestos fibers. In a later srndy,McDonald et a1. (1988)
found no increase in radiographic abnormalities over controls in a cohort ofvenniculite
miners exposed to small amounts of fibrous tremolite.

Conclusions

Any risk assessment at Libby should follow well established quantitative principles.
Whether an individual comes into contact with expanded vermiculite product or
vermiculite Goncentrate, ultimately the risk depends on the level of exposure to Libhy
asbestos. A number of studies of the occupational cohort at Libby allow the estimation of
potency factors of Libby asbestos for lung cancer, mesothelioma, and N:tv1RD. These
potency factors can be used to assess the risks for the general population at Libby given
exposure infonnation. In particular, given exposure information, it is possible to predict
the number of deaths from these diseases that would be expected to occur in the Libby
population in the future. Since the potency factors described here are specific to Libby
fibers, these projections. would be expected to be more accurate than those based on. the
generic potency factors fbr asbestos developed by the EPA in 1986, which would
overestimate the number ofdeaths. The IJotency factors for Libby fibers indicate also that




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Libby fibers are considerably less toxic than crocidQIite, The toxicity of Libby fibers
appears to lie somewhere between the toxicity of chrysotile and that of amosite,


                               1Vv"~...__
                              .., Ph.D.

Bellevue, WA 98004
April 6, 2009




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               Suresh l\ifoolgavkar,M.D., Ph.D. Compensation

I am being compensated for this report at $550 per hour.
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  Suresh H. Moolgavkar, 1\1.D., Ph.D.
  Corporate Vice President and Director of the Center for Epidemiology, Biosta.tistics, and
    Computational Biology

  Professional Profile

  Dr. Suresh Moolgavkar has more than 30 years of experience in the fields of epidemiology,
  biostatistics, and quantitative risk assessment. He is internationally known for his work in
  deveJopingmechanistically based dose~response models for carcinogenesis, and, in particular,
  for the two-mutation clonal expansion model, also known as the 1\4oo1gavkar-VenzQn-Knudson
  (MVK) modeL For the past decade, Dr. Moolgavkar has also been keenly interested in air
  poI1ution epidemiology. Dr. Moolgavkar retired from his position as a Fun Member of the Fred
  Hutchinson Cancer Research Center in August 2008. He continues to be an Affiliate
              at
  Investigator the Center and Professor of Epidemiology and Adjunct Professor of Biostatistics
  and Applied Mathematics at the University of Washington in Seattle, Dr. Moolgavkar has
  served on the faculties of Johns Hopkins University, Indiana University, University of
  Pennsylvania, and Fox Chase Cancer Center. He has been a visiting scientist at the Radiation
  Effects Research Foundation in Hiroshima, the International Agency for Research on Cancer in
  Lyon~ and the German Cancer Research Center in Heidelberg. Dr. 1V1oo1gavkar has served on
  numerous review panels and as aconsultantto the National Cancer Institute, EPA~ Health and
  \Velfare, Canada, The International Agency for Research on Cancer, the California Air
  Resources Board, and the CUT Centers for Health Research, among others.

  Dr. Moolgavkar is the author or co-author of more than 150 papers and contributed chapters in
  the areas of epidemiology, biostatistics, and quantitative risk assessment, and has edited three
  books in these areas. He was the senior editor of a monograph, Quantitative Estimation and
  Prediction ofHuman Cancer Risk, published by the International Agency for Research on
  Cancer. He is an elected member of tile American Epidemiological Society. Dr. Moolgavkar
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  He.alth and Environment ofRiskAnalysis~AnInternational Journal., and on the editorial board
  of Inhalation Toxicology.

  Dr, Moolgavkar's research has been supported largely by grants from the National Institutes of
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  Academic Credentials and Professional Honors

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     School, Baltimore, Maryland, 1966-1968
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Elected .Member, American Epidemiological Society
Distinguished Achievement Award~ Society for Risk Analysis, 2001
Founders' Award, Chemical Industry Institute ofToxicology, 1990
Lester R. Ford Award of Mathematical Association of America, 1977
Faculty Research Fellowship ofIndiana University, 1974-1976

Academic Appointments

Professor, Department of Epidemiology, University of Washington, 1984-present
Adjunct Professor,Department of Biostatistics, University of Washington, 1984-present
Adjunct Professor, Department ofApplied Mathematics, University of Washington, 2004-present
Member, The Fred Hutchinson Cancer Research Center, Seattle, 1984-2008
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Adjunct Professor, Department of AppHed Mathematics, University of\Vashington, 2Q04-present
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Professor, Department of Epidemiology, University of \Vashington, 1984-present
Adjunct Associate Professor, Department of Research Medicine, University ofPennsytvania
        School of Medicine, 1980-1984
Research Physician, The Institute for Cancer Research, Fox Chase Cancer Center, Philadelphia,
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Clinical Assistant Professor, Department of Research Medicine, University of Pennsylvania
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Associate, American Oncologic Hospital, Philadelphia, 1977-1984
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Member, Graduate Group in Epidemiology, University ofPennsylvania, 1977-1984
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Editorships and Editorial Review Boards

Editorial Board, Inhalation TOXicology, 2006-present
Guest Editor, lvfodeling and Data Analysis in Cancer Studies, special issue of1v1athematical and
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Associate Editor~ Risk Analysis-An International Journal, 2000-present
Senior Editor, Quantitative Estimation and Prediction a/Human Cancer Risk, International
   Agency for Research on Cancer, Scientific .PubHcations 131, 1999
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Tobacco Smoking. IARC monographs on the evaluation of the carcinogenic risk of chemicals
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Selected Invited Presentations

Moolgavkar SR. Clonal expansion and carcinogenesis. International Conference on Systems
Biology in Radiation Carcinogenesis, Munich, GermanY,February 2007.

Moolgavkar SR. Epidemiology of colon cancer. AEK Cancer Congress, Frankfurt, Germany,
February 2007.


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:Moolgavkar SR. Multistage carcinogenesis and epidemiologic studies ofcancer. Distinguished
Seminar Series, Fox Chase Cancer Center, PA, Octoher 2005.

Moolgavkar SH. Multistage carcinogenesis and lung cancer prevention. IARC Seminar Series,
Lyon; France, July 2004.

Moolgavkar SR. Radiation-induced gestational mutations and cancer. CaSPAR meeting,
Paris, France, July 2004.

Moolgavkar SH. Multistage carcinogenesis and radiation risk assessment. International
Congress of Radiation Research, Brisbane, Australia, August 2003.

Moolgavkar SR. Cancer models and risk assessment. Environmental Mutagen Society, Annual
Meeting; Miami,May 2003.

Ivlo01gavkar SH. Methodological issues in time-series analyses of air pollution data. Meeting
the Environmental Challenge of the 21st Century, l\1onterey, CA, March 2003.

Moolgavkar SH. JVlultistage carcinogenesis and risk assessment. International Biometrics
Conference, Homburg, Germany, March 2001.

Moolgavkar SH.Multistage<models ofcarcinogenesis: historical perspective, overview,
implications for radiation c.arcinogenesis. International Workshop on Mathematical Models in
Radiation Carcinogenesis, Kyoto, March 2001.

l\1oolgavkar SH.ModeHngaltered hepatic foci: issuesancioutstanciing problems. 6th European
Meeting On Hepatocarcinogenesis, Vienna, September 1999.

MooIgavkar SH. Intermediate lesions in carcinogenesis. Netherlands Institute for Health and
the Environment Seminar Series, 1997.

Moolgavkar SH. Multistage model for lung cancer. International meeting ofthe Bernoulli
Society, Calcutta, India, 1997.

Moolgavkar SR. Stochastic cancer models: Application to analyses of solid cancer incidence in
the COhOlt of A-bomb survivors. Keynote Speaker, International symposium on low-dose and
low-dose-rate radiation, Stratford-on-Avon, UK, 1997.

Moolgavkar SR. Stochastic models for estimation and prediction ofcancer rlsk. International
Symposium on Statistics in the Environment~ Enschede, The Netherlands, 1997.

MooIgavkar SH. Time-series analyses ofair pollutIon data. International Symposium on
Health Effects of Particulate Air Pollution, Prague l 1997.

Moolgavkar SH. !v:Iultistage carcinogenesis, benzene exposure and leukemia risk. Berkeley
Symposium on Benzene and Leukemia; Napa VaHey, 1996.

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European Toxicology Meeting, Mainz, Germany, 1993.

Moolgavkar SR. Biologically-based cancer risk assessment. International Symposium on
Quantitative Risk Assessment, Research Triangle Park, NC, 1993.

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International Workshop on Mouse Liver Tumors, Washington DC, 1992.

Moolgavkar SH. Cancer models and low-dose extrapolation of risk. Workshop on Risk
Assessment and Low Dose Extrapolation, Zurich, Switzerland, 1992.

MOQIgavkar SH. Cell proliferation and carcinogenesis. International Conference on Cell
Proliferation in Carcinogenesis, NIEHS, North Carolina, 1992.

Moolgavkar SH. Tvlultistage carcinogenesis and fisk assessment International Toxicology
Conference" Rome, Italy, 1992.

1Vloolgavkar SHy A population perspective on multistage carcinogenesis. Princess Takamatsu
Cancer Congress, Tokyo, Japan, 1991.

1v1ooIgavkar SH; Cancer models. International \Vorkshop on Biophysical I\1odeHing of
Radiation Carcinogellesis,Padua, Italy, 1991.

Moolgavkar SH. Carcinogenesis models: An overview. Hanford Symposium on Health and
the Environment, Battelle PNL, Richland, WA, October 1990.

Moolgavkar SR. Analyses of altered foci in rat hepatocarcinogenesis experiments. University
of Vienna Cancer Center, Vienna, Austria, July 1990,

Moolgavkar SH. Multistage models of carcinogenesis. University of TUbingen Seminar Series,
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Toxicology Group, 1v1annheim, 1990.

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Hamburg, 1990.

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Biostatistics Seminar Series, 1990.
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Society, Annual Meeting, Seattle, WA, ] 989.

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cancer risk assessment. International Conference on Chemically Induced Cell Proliferation:
Implications for Risk Assessment, Austin, TX, 1989.

Moolgavkar SH. Two mutation model for carcinogenesis: Relative roles of somatic mutations
and cell proliferation in determining risk SIMS Conference on Scientific Issues in Quantitative
Cancer Risk Assessment; Alta; Utah, 1989.

Moolgavkar SH. Cancer models and risk assessment. NATO \V'orkshop on Biologically-based
Methods for Cancer Risk Assessment; Corfu, Greece, June 1988,

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University of Nebraska Medical Center, May 1988.

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Assessment Workshop, Washington, DC, March 1988.

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Welfare, Ottawa, Canada. March 1988.

Moolgavkar SR. Curvature and inference in exponential families: Application to Relative Risk
Regression Models. Carleton University, Ottawa, Canada, March 1988.

Moolgavkar SH. Cox regression for the innocent bystander. Fox Chase Cancer Center
Seminar, Philadelphia, FA, December 1987.

Moolgavkar SH, Prentice R. Modem statistical methods in chronic disease epidemiology.
Biopharmac.eutical Section ofASA (tutorial and short course), Newark, NJ, December 1987.

Moolgavkar SH. Biologically motivated two~stage model for carcinogenesis. 17th Conference
on Toxicology, \\hight-Patterson Air Force Base; Dayton, OR, November 1987.

MooIgavkar SH. Two~stage model for carcinogenesis. University of\Visconsin Seminars,
"Curvature and Inference in Exponential FamiHes: Application to Relative Risk Regression
Models," Department of Human Oncology; Madison, OH, November 1987.


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Symposium on Quantitative Assessment ofCancer Risk, Washington, DC, February 1987.

Moolgavkar SH. A cohort analysis of smoking and cancers of the lung, bladder and pancreas.
School of Public Health grand rounds, Department of Biostatistics Seminar on General Relative
Risk Regression Models for Epidemiologic Studies, University of Pittsburgh, Pittsburgh, PA,
January 1987.

Moolgavkar SH. Two-stage model for carcinogenesis and the IPI protocol. Battelle PNL,
Richland, WA, 1986.

Moolgavkar SR. Modern statistical methods in chronic disease epidemiology. SIMS
conference, Alta, UT, June 1985.

Moolgavkar SH. Time related factors in cancer epidemiology. NIH International Symposium,
April 1985.

Moolgavkar SH. General relative risk models for case-control studies. JohnsHopkins
University, School of Public Health, Baltimore, MD, 1985.

MoolgavkarSH. Stochastic models for carcinogenesis and risk assessment. EPA, Washington,
DC, 1985.

Moolgavkar SR. Risk assessment using vital data. SIMS Conference on Environmental
Epidemiology and Risk Assessment, Alta, DT, June 1982.

Selected Professional Activities

          •    Consultant, Fox Chase Cancer Center
          •    Consultant, Health and Welfare, Canada
          •    Consultant, University ofNebraska Medical Center
          •    Member, IARe (International Agency for Research on Cancer) working group on
               Tobacco Smoking
          •    Member, NIH Special Study Section for Biometry
          •    Member, NSF panel to review scientific bases of risk assessment methodologies
          •    Member, External Science Advisory Board, RISC-RAD project of the European
               Union, ongoing
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          •    Member, External Science Advisory Board, California Air Resources Board,
               ongoing
          •    Invited Expert, Workshop on Mechanisms of Fiber Carcinogenesis, IARC, Lyon,
               France, November, 2005
          •    Area Editor for Health and Environment, Risk Analysis-An International Journal,
               January 2000---present
          •    Senior Editor of monograph Quantitative Estimation and Prediction ofCancer Risk
               IARC Scientific Publications, No. 131, 1999
          •    Co-chairman, International Conference on Mathematical Models in Cancer, Park
               City, Utah, 1998
          •    Member, Health Effects Institute Expert Panel for re-analyses of critical air pollution
               studies, 1997-2000
          •    Member, Working Group on quantitative estimation and prediction of cancer risk,
               lARC, Lyon, 1993
          •    Member, Scientific Advisory Panel to the CUT Centers for Health Research,
               1992-2005
          •    Member, Scientific Advisory Panel to review the EPA Dioxin Health Assessment
               document, 1992
          •    Member, Scientific Advisory Panel to review Risk Assessment program ofthe
               National Center forToxicologic Research, 1992
          •    Organizer and Chair, SIMS conference HScientificlssues in Quantitative Cancer
               Risk Assessment", held in Snowbird, Utah, June 1989
          •    Member, Advisory Committee to review risk assessment program of Armstrong
               Laboratories, Wright-Patterson Air Force Base, 1987
          •    Member, External Scientific Committee to review the program ofthe Radiation
               Epidemiology Branch, NCI, 1987
          •    Co-chairman of SIMS conference "Modem Statistical Methods in Chronic Disease
               Epidemiology" held in Alta, Utah, in June 1985
          •    Session Chairman at International Symposium: "Time Related Factors in Cancer
               Epidemiology," held at NIH in April 1985




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                                 Testifying History 2002-2007

I have offered expert testimony in the following matters

2007 - Depositions

Larry Vucelich v. Ford Motor Company, General.Motors Corp., Daimler·Chrysler Corp., et at
Circuit Court, Kanawha County, West Virginia.

Kenneth Hickman v. Union Carbide Corp.~ et aI., Circuit Court, Kanawha County, West
Virginia.

2006 - Trial TestimollY

Carl & Joyce Holbrook v. Bondex Inten1ational et aI., King County, Washington

Rebekah Price v. Borg Warner et at SuperiorCollrt ofthe State of California, Alameda County.

2006 - Depositions

United Sates et a1. v. American Electric Power Service Corp. et aI., Seattle, WA

Rebeckah Price v. Borg \-Varner et a1. Superior Court of the State ofCaEfomia, Alameda County_

Carl & Joyce Holbrook v. Bondex International et aI., King County, "'A'A.

Joseph & Yolanda Tizcareno v. Burns Ium!' Services Corp Borg Wam.er et aI., Los Angeles
Superior Court,CA

Caroline Hicks v. American Asbestos Co. et a1. San Francisco Superior Court, CA

Thomas & Elizabeth Halsema v. Allied Packing et at Alameda County Superior Court, CA

2005 ~ Depositions

Samuel Gates v. A-I Clultch Co. et a1. San Francisco Superior Court, CA

Lewis Zavacky v. Dana Corporation et at Cuyahoga County, Ohio.

2004 ~ Depositions

United Stateset at. v. Ohio Edison et aI., \Vashiugton D.C.

2,J}02- Depositions

United States et a1. v. W.R. Grace (cost recovery action), Denver, CO.
